U.S. COURTS

UNITED STATES DISTRICT COURT AUG 01 2022
Flevd..., Fil .
FOR THE DISTRICT OF IDAHO SPEPHEN W mae

CLERK, DISTRICT OF IDAHO

JULY 22nd, 2022
UNITED STATES OF AMERICA, Case No. 1:12-cr-00155-BLW-001

Plaintiff
ams DEFENDANTS MOTION

vs. IN RESPONSE TO DKT. #747

JESUS GUADALUPE SANCHEZ,

Defendant. (( PRO-SE ))

 

 

Petitioner JESUS GUADALUPE SANCHEZ., is in response to the

 

U.S. Attorneys docket no. 747.

Petitioner respectfully response and fully explains that
the prisoner truly believes that the First Step Act of 2018 will
become retroactive in the up coming months to come and would
request permission from this court to bring this motion on
Abeyance, until retroactivity comes to play to all who where
sentence before the enactment prior to the FSA of 2018. Mr.
sanchez, meets all requirements under the soon to come
retroactive because he was sentence under methamphetamine. and
according to the Government they believe that he has no right to

ask this Court if eligible for the enactment under FSA 2018.

Petitioner states that he is fully eligible under the First

Step Act of 2018 which became New Law in December 21, 2018, and

 
many federal prisoner sentence prior the enactment of the FSA

are now being released before retroactive stages.

Petitioner would show as proof and explain to this court why the
i

prisoner believes he is entitled to relief, and why the guidelines

and the applicable laws have changed.

This court has. the discretion to recognized that several aspects of

‘

the law have “changed and, consequently, similarly situated

individuals ,are now subjected to vastly Lower mandatory minimum

sentences than that received .-by Mr. Sanchez, which is an
extraordinary and compelling reasons to adjust his sentence

accordingly., .And on the possibility that the law in question will

¢

just about half 50% percent that inéludes good time, of his sentence
and the new law under FSA of 2018 mandatory minimum sentences, or
minimum sentences would be for a sentence enhancement to which be
the prisoner or defendant today would no longer be eligible.

"PLEASE SEE: CITED GASES, Seen below as follows."

CITED CASES

 

1.

U.S. v. Ebbers, 432 F. Supp. 3d 421, 427 n.6 (S.D.N.¥. 2020)("
The First Step Act reduces the BOP's control o
release and vested greater discretion with courts

2. L
U.S. v- Gantu, 423 F. Supp. 3d 345, 352 (S.D. Tex. 2019)(vesting

BOP with authority to determine whether extraordinary and
compelling reasons present "no Longer describes and apporopriate

2.

ver compassionate

 
use of sentence modification provision and is thus no part of the
applicable policy statement binding the Court").
3.

U.S. v. McPherson, 454 F. Supp. 3d 1049, 1052 (W.D. Wash. 2020)
U.S.S.G. § IBT.13, which the Commission promulgated in 2007 to
describe what should be considered "extraordinary and compelling

reasons" for a sentence reduction, has yet to be amended in
keeping with the First Step Act.
4.

U.S. vw. Aruda, 993 F.3d 797, 801 (9th Cir. 2021)("The Sentencing
Commission ha not yet issued a policy statement 'applicable' to
3582(c)(1)(A) motions filed by a defendant. The Sentencing
commission statements in U.S.S.G. § 1B1.13 may inform a /District
Court's discretion for § 3582(c)(1)(A) motions filed by a
defendant, but they are net binding."). Several district courts,
when confronted with circumstances similar to those at issue here

found it with in their discretion to grant compassionate
release's.

5.

U.S. v. Jesus-Mateo, Case No. 98-009 (FAB) at 2 (D.P.R.) JUNE 9,
2021)Cattached as Ex. 4)(grating compassionate release when “If
sentence today, the defendant would face no enhance mandatory
minimum or enhancement s of any kind under sentence" and the

sentencing between the defendant and all co-defendants would be
Nelaring").

6. . ,

U.S. v. Morefield, No. 2:13~GR-02113-SAB-1, 2021 U.S. Dist. LEXTS
74934, at #10 (E.D. Wash. Apr. 19, 2021)("E£ Defendant where
sentenced today, he would no longer be facing a mandatory life
sentence or any enhance sentences and would be facing a less
advisory new guideline range.) Courts have considered these
factors through out. the sisters district courts in their decission
to grant motions under F.S.A. or compassionate releases.

7.
U.S. Sloan, Criminal’ Action No. 3:93-CR-00028-ccM at #4 (W.D.
N.C. June » 2021)(attached as Ex. 5)(€granting compassionate

release when the defendant's sentence was three times longer than
it would be if he were sentence today).

8.

U.S. v. Huggans, Case No. 4:07-CR-541-CDP at 8-10(CE.D. Mo. June
11, 2027)(Cattached as Ex.6)(granting compassionate relief to a
defendant sentenced to life under §851 when his current guideline
would have been 235 to 293 months.

9

__U.S. v. Williams, Case No. 5:12-cR-14, 2020 WL 3834673, at #8
(W.D. Va. Sept. 30, 2020). 3.

 
10.
U.S. v. Day, 474 F. Supp. 3d 790, 806-07 (E.D. Va. 2020).

t1. U.S. v. Roberto Mendez-Sanchez, Case No. 2:06-CR+~00425-MJP, -
See: Dkt #1081 Filed 02/25/2022 U.S. Dist. Western Dist. Washington Seattle,-
(‘Court GRANTS the Motion. The Court also GRANTS Mendez-Sanchez's Motion to -
file an Overlength Brief.")("(1) The Court reduces Mendez-Sanchez's remaining
sentence to time served and Mendez-Sanchez's shail be released from custody
14 days from the date of this Order accommodate a quarantine period with the
Federal Bureau of Prisons. If Mendez-Sanchez's test COVID-19 positive at any
time during this quarantine period, the Federal Bureau of Prisons’ shall
notify the Government which will immediately notify the Court so that this
Order can be modified as appropriate; and'')("(2) The Court withdraws and
vacates thé term-of supervised release contained in the original judgement,
particularly in light of the pending ICE detainer and Mendez-Sanchez's desire
to return to Mexico.) "All under conspiracy to distribute 500 grams or more
of a mixture or substance containing methamphetamine, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A) ,846;""

 

t

Petitionér Jesus Guadalupe Sanchez, states that he is not an

attorney to fundamentally understand the law and has only resear

-ched little and read updates in the Institution prison Law

Library LEXIS ~- "Computer available to all inmates" and has been

aware of the new issues pertaining to First Step Act of 2018, up

coming relating to retroactive . The Defendant has served at -
or more than 10 years that includes good time. The federal priso-
ner truly believes FSA will go in affect in the future and

respectfully request permission from this Court to bring this

motion on Abeyance.

So respectfully requested, Sworn Under 18 U.S.C. §1746
Signed on this 22nd, day of JULY 2022

x Goncher \ ene

Jesus Guadalupe Sanchez., #72761-308 4.

 
 

 

 

 

 
Case 1:12-cr-00155-BLW Document 747 Filed 07/05/22. Page 1 of 3

JOSHUA D,. HURWIT, IDAHO STATE BAR NO. 9527
UNITED STATES ATTORNEY
CHRIS'TOPHER A. BOOKER, IDAHO STATE BAR NO. 7672
ASSISTANT UNITED STATES ATTORNEY

DISTRICT OF IDAHO

1290 W. MYRTLE ST. SUITE 500

BOISE, ID 83702-7788

"TELEPHONE: (208) 334-1211

FACSIMILE: (208) 334-1413

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA, Case No. [:12-cr-00155-BL W-001
Plaintiff, GOVERNMENT’S RESPONSE IN
OPPOSITION TO DEFENDANT'S
vs. MOTION TO REDUCE SENTENCE

UNDER THE FIRST STEP ACT OF 2018
JESUS GUADALUPE SANCHEZ, |

Defendant.

 

 

The United States of America, by and through Joshua D. Hurwit, United States Attorney,
and the undersigned Assistant United States Attorney for the District of Idaho, hereby files its
opposition to Defendant’s Motion to Reduce Sentence Under the First Step Act of 201 8 (ECF
No, 746),

DISCUSSION
I, Retroactivity Under the First Step Act of 2018 Does Not Apply to Defendant.
The First Step Act (“FSA”) was enacted to reform various aspects of the criminal justice
system. In relevant part, Section 404 of the FSA makes the Fair Sentencing Act of 2010 apply

retroactively. First Step Act of 2018, Pub. L. No. 115-391, 132 Stat 5194 (2018).

GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
REDUCE SENTENCE UNDER THE FIRST STEP ACT OF 2018 - 1

 
Case 1:12-cr-00155-BLW Document 747 Filed 07/05/22 Page 2 of 3

Under Section 404, a “covered offense” for which retroactivity applies is defined as “a
violation of a Federal criminal statute, the statutory penalties for which were modified by section
2 or 3 of the Fair Sentencing Act.” Jd. Thus, this retroactivity specifically applies to offenses
under Section 2 or 3 of the Fair Sentencing Act.

Section 2 of the Fair Sentencing Act established higher threshold quantities of cocaine-
based substances for triggering statutory mandatory minimums. Fair Sentencing Act of 2010,
Pub. L. No. 111-220, 124 Stat 2372 (2010). Section 3 eliminated mandatory penalties for simple
possession of crack. Id. Therefore, retroactivity under Section 404 of the FSA only applies to
cocaine offenses.

In 2013, Defendant was convicted for both possession with intent to distribute
methamphetamine, and conspiracy of the same crime. (Judgment of Jesus Guadalupe Sanchez,
ECF No. 583.) Thus, Defendant’s sentence is based entirely on methamphetamine-related
offenses. Accordingly, his sentence is not eligible for retroactive relief under the FSA.

CONCLUSION

For the reasons set forth above, the Court should deny Defendant’s Motion. Retroactivity
under the First Step Act does not apply to methamphetamine offenses.

Respectfully submitted this 5th day of July, 2022.

JOSHUA D. HURWIT

‘UNITED STATES ATTORNEY
By:

és! Christopher Booker
CHRISTOPHER BOOKER
Assistant United States Attorney

GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
REDUCE SENTENCE UNDER THE FIRST STEP ACT OF 2018 - 2

 
Case 1:12-cr-00155-BLW Document 747 Filed 07/05/22. Page 3 of 3

CERTIFICATE OF SERVICE

THEREBY CERTIFY that on July 5, 2022, the foregoing UNITED STATES OF

AMERICA'S RESPONSE TO DEFENDANT'S MOTION TO REDUCE SENTENCE was

electronicaily filed with the Clerk of the Court using the CM/ECF system, and that a copy was

served on the following parties or counsel by:

 

Jesus Guadalup Sanchez
Inmate No.72761-308

FC] Three Rivers

Federal Correctional Institution
P.O. Box 4200

‘Three Rivers, TX 78071

 

[x] United States Mail, postage prepaid
[| Fax

[ |] ECF filing

[| Email

As/ Mackenzie Nyland
Legal Assistant

GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
REDUCE SENTENCE UNDER THE FIRST STEP ACT OF 2018 -3

 

 
 

TOTO-7ZZE8 OHVGI ‘estog

OOvF WOoy £4e8515 420g 48am SOS

(MMFIO LOLYLSIG AHL AO BOTA »)
OHVGI 40 LOTaLisid FHL yoda
LYNnGD LOTALSId °s°n

SOL omibldy Je: SSS
AMON LETS 3
aa oe

Pie
Se

 

 

 

 

a
é= A i

 

BOZe Bees! tooo oFTE O20

sseuTsng [eTSTIIO

 

 

 

 

T4087 SexoL *“SISATY soauy

O00Z7 XOY PSTFFO YSod

 

I 2 ee

LINQ.

 

 
